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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


 BARBARA J. LEE, et al.,

                       Plaintiffs,

        v.
                                                     Case No. 1:21-cv-00400 (APM)
 DONALD J. TRUMP, et al.,

                       Defendants.


                                     [PROPOSED] ORDER

       Upon consideration of Defendant Enrique Tarrio’s Motion to Join Defendant Donald J.

Trump’s Motion to Stay and the arguments in support of and in opposition thereto, it is hereby:

       ORDERED that Defendant Tarrio’s Motion is DENIED.



                                                         SO ORDERED.


                                                         _______________________________
                                                         Hon. Amit P. Mehta
                                                         UNITED STATES DISTRICT JUDGE


                                                         Dated: __________________________
